          Case 23-13491-djb                  Doc       Filed 04/10/25 Entered 04/10/25 12:02:19                                Desc Main
 Fill in this information to identify the case:         Document     Page 1 of 8

 Debtor 1          Chinelle    Monique Ballard
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           23-13491-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST    BANK
                   _______________________________________                                                       5
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          7 ____
                                                        ____ 8 ____
                                                                 2 ____
                                                                     5               Must be at least 21 days after date        5/1/2025
                                                                                                                                _____________
                                                                                     of this notice


                                                                                     New total payment:                                 658.11
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                     219.07
                   Current escrow payment: $ _______________                       New escrow payment:                   223.88
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Chinelle   Monique       Ballard
                 _______________________________________________________                                   23-13491-amc
                                                                                        Case number (if known) _____________________________________
                 First Name   Middle Name      Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                       /s/ Wendy Locke
 û   _____________________________________________________________
     Signature
                                                                                        Date   04/01/2025
                                                                                               ___________________




 Print:            Wendy   Locke
                   _________________________________________________________            Title Authorized  Agent for Creditor
                                                                                              ___________________________
                    First Name                Middle Name        Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                         State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________
                                                                                               wlocke@aldridgepite.com
                                                                                        Email ________________________




Official Form 410S1                                            Notice of Mortgage Payment Change                                           page 2
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Required Minimum Balance
The required minimum balance is between 0 and 2 new monthly escrow payments and is determined by the terms of your loan
documents, federal and/or state law. The new required minimum balance in your escrow account is $447.76

                               Your lowest expected escrow balance:                                                                        $1,927.06
                               Your required minimum balance                                                                                 $447.76
                               The difference creates a surplus in your escrow account of:                                                 $1,479.30
Because the lowest expected balance is higher than the required minimum balance, there is a surplus of $1,479.30 in your account.
This surplus is illustrated in the table below, and can be found by calculating the difference in the bolded numbers in the
Anticipated Balance and Required Balance columns.


Expected Escrow Account Transactions
The following chart shows the amounts we expect to deposit into and pay out of your escrow account during the next escrow cycle,
as well as the required balance for each month. These projections are based on the most recent bills paid from your escrow
account. The actual amounts billed by your insurance company and by your taxing authority in the upcoming year may be
different and could result in changes to your monthly mortgage payment when your escrow account is reviewed in the
future. If you become aware of a change to your insurance or taxes, you may wish to contact Midland to have your escrow
account reviewed to avoid a large shortage or surplus in the future.

                         EXPECTED PAYMENTS             EXPECTED PAYMENTS                                              ANTICIPATED          REQUIRED
    MONTH-YEAR               TO ESCROW                    FROM ESCROW                 DESCRIPTION                        BALANCE            BALANCE
                                                                                      Starting Balance                    $2,374.90              $895.60
     May-25                    $223.88                        $0.00                                                       $2,598.78             $1,119.48
     Jun-25                    $223.88                        $0.00                                                       $2,822.66             $1,343.36
     Jul-25                    $223.88                        -$733.92                HAZARD                              $2,312.62              $833.32
     Aug-25                    $223.88                        $0.00                                                       $2,536.50             $1,057.20
     Sep-25                    $223.88                        $0.00                                                       $2,760.38             $1,281.08
     Oct-25                    $223.88                        $0.00                                                       $2,984.26             $1,504.96
     Nov-25                    $223.88                        $0.00                                                       $3,208.14             $1,728.84
     Dec-25                    $223.88                        $0.00                                                       $3,432.02             $1,952.72
     Jan-26                    $223.88                        $0.00                                                       $3,655.90             $2,176.60
     Feb-26                    $223.88                        -$1,952.72              CITY/TOWN TAX                       $1,927.06              $447.76
     Mar-26                    $223.88                        $0.00                                                       $2,150.94              $671.64
     Apr-26                    $223.88                        $0.00                                                       $2,374.82              $895.52
     Total                     $2,686.56                      -$2,686.64


Escrow Account History
This chart shows the estimated and actual activity in your escrow account from 2/1/24 through 2/1/2025. If the servicing of your
loan recently transferred to Midland or your loan has analyzed within the last 12 months the table below may be blank or show a
history of less than 12 months. If the last escrow account statement provided by Midland was issued to you more than 12 months
ago, additional months of transaction history for transactions more than 12 months in the past is included on page 5 of this
statement. The previously required minimum balance and the actual minimum balance reached are indicated by bold font in the
chart below.

                    PAYMENTS TO                                       PAYMENTS FROM                                                       ESCROW
                      ESCROW                                             ESCROW                                                           BALANCE
 MONTH-
               Estimated         Actual       Estimated           Description            Actual             Description         Estimated             Actual
  YEAR
                                                                                                  Starting Balance                $2,171.85          -$5,735.69
  Feb-24          $219.07        $657.21       -$1,952.72     CITY/TOWN TAX                 $0.00                                     $438.20        -$5,078.48
  Mar-24          $219.07           $0.00           $0.00                              -$1,952.72        CITY/TOWN TAX                $657.27        -$7,031.20
  Apr-24          $219.07        $351.54            $0.00                                   $0.00                                     $876.34        -$6,679.66
  May-24          $219.07        $132.47            $0.00                                   $0.00                                 $1,095.41          -$6,547.19
  Jun-24          $219.07        $616.48            $0.00                                   $0.00                                 $1,314.48          -$5,930.71
  Jul-24          $219.07        $484.01         -$676.18          HAZARD                -$733.92            HAZARD*                  $857.37        -$6,180.62
  Aug-24          $219.07        $132.47            $0.00                                   $0.00                                 $1,076.44          -$6,048.15
  Sep-24          $219.07        $831.74            $0.00                                   $0.00                                 $1,295.51          -$5,216.41
  Oct-24          $219.07        $788.41            $0.00                                   $0.00                                 $1,514.58          -$4,428.00
  Nov-24          $219.07        $788.41            $0.00                                   $0.00                                 $1,733.65          -$3,639.59
  Dec-24          $219.07        $612.67            $0.00                                   $0.00                                 $1,952.72          -$3,026.92
  Jan-25          $219.07        $338.21            $0.00                                   $0.00                                 $2,171.79          -$2,688.71
  Feb-25          $219.07        $131.20       -$1,952.72     CITY/TOWN TAX                 $0.00                                     $438.14        -$2,557.51
   Total        $2,847.91       $5,864.82      -$4,581.62                              -$2,686.64

* The single asterisk indicates a difference in the amount or date of the estimated and actual payouts from escrow.
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Escrow Surplus
There is a surplus in your escrow account in the amount of $1,479.30. See below for details about how we determined what to do
with the surplus in your escrow account and how it may have affected your monthly mortgage payment.



      If the surplus is $50 or more and your loan was current
      Loans that are current as of the date of the escrow analysis with an escrow surplus of $50 or more are issued a check
      for the amount of the escrow surplus. If a check for your escrow surplus is attached to the bottom of this page, please
      cash it as soon as possible. If the check is not cashed within 90 days, the check will expire and the surplus will be
      returned to the escrow account.

      If the surplus is less than $50 and your loan was current
      If the loan was current as of the date of the escrow analysis and has an escrow surplus of less than $50, the amount of the
      escrow surplus has been credited to your monthly escrow payment over the next 12 months, lowering the monthly mortgage
      payment amount. See the “New Monthly Mortgage Payment” section on page 1 for details about the monthly surplus credit.

      If your loan payments are past due by 30 days or more
      If the loan payment was past due by 30 days or more as of the date of the escrow analysis, the surplus was retained in your
      escrow account unless the property that secures the loan is located in North Dakota and the surplus is greater than or equal
      to $50. If your property is located in North Dakota and the surplus is greater than or equal to $50, you will be mailed a check
      for your escrow surplus.

                   Your monthly mortgage payment will be $658.11 beginning on 5/1/2025. This is
                          the lowest your monthly payment amount can be at this time.



                         What if I have enrolled in an Automatic Payment Plan?
      ·    If you use Midland’s Automatic Payment Plan, we will automatically adjust your payment withdrawal amount.
      ·    If you use an automatic payment program other than Midland’s, please contact your payment administrator
           and ask them to update your payment to the new amount.




                                               Worried About Payments?
      If you are struggling to pay your monthly payment, please call us at 1-800-552-3000 Monday through Friday from
      8 a.m. until 9 p.m. (Central Time) to discuss your account and the options that may be available to help you.

      You can also visit us online at www.MyMidlandMortgage.com/applynow to get an application for assistance.



                        Please review the reverse side of this statement for
                          helpful answers to common escrow questions.




If this statement indicates that there is a surplus that is greater than or equal to $50 in
   your account and your loan was current, the amount of the escrow surplus will be
   sent in a separate mailing with a check enclosed. ?If your loan is not current or the
   surplus was less than $50, the escrow surplus has been held in escrow unless the
  property that secures the loan is located in North Dakota and the surplus is greater
   than or equal to $50. If your property is located in North Dakota and the surplus is
    greater than or equal to $50, you will be mailed a check for your escrow surplus.

                                         www.MyMidlandMortgage.com
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Frequently Asked Escrow Account Questions
Q1 What is an escrow account?
  Part of your monthly mortgage payment includes an amount for your loan’s principal and/or interest, but it also
  includes an amount for property-related expenses (such as property taxes, insurance, and other items required by
  your loan documents). These amounts are deposited into an escrow account associated with your mortgage loan.
  With an escrow account, you pay a portion of your property taxes, insurance, and other items required by your loan
  documents every month instead of once or twice a year.

Q2 Why did Midland change my monthly mortgage payment amount?
  Midland does not change your principal and interest monthly payments unless you have an adjustable interest rate
  mortgage loan or an interest-only period on your loan. Increases or decreases to the escrow portion of your monthly
  mortgage payment are usually because of changes in your taxes or insurance.
      Property Taxes: Your property taxes may change when your property is reassessed, when the applicable tax
      rate changes, or when a special tax or assessment is charged by your local taxing authority. Contact your local
      taxing authority if you have questions about changes to your property taxes.
      Homeowner’s and Flood Insurance: Your premium for insurance covering your property can change when
      your coverage changes or if the rate that your insurance company charges for your coverage changes. Contact
      your insurance carrier or agent with questions about your insurance coverage and the cost of your coverage.
      You may also contact our Insurance Service Center at 1-866-439-2712 to discuss any changes in your
      insurance bills and your options.

Q3 How often will my escrow payment change?
  Your monthly escrow payment, and thus your monthly mortgage payment, may change at least once a year when
  we review your escrow account as required by federal and state law. Your escrow payment might be recalculated
  more than once a year if there are substantial changes in your escrow bills (for example, you obtain homeowner’s
  insurance at a reduced rate or you receive an exemption from paying the full amount of your property taxes).

Q4 Will my automatic payments change to cover my new payment amount?
  If you use Midland’s Automatic Payment Plan, we’ll automatically adjust the withdrawal amount to the new payment
  amount upon its effective date. If you use an automatic payment program other than Midland’s, please contact your
  payment administrator and ask them to update your payment to the new amount.

Q5 What should I do if I think my escrow bills are wrong?
  You should verify billing amounts with your insurance carrier or taxing authority if you believe your escrow account
  has been charged incorrectly. If the amounts have changed, provide Midland with proof of the change from the
  taxing authority or insurance carrier so that we can adjust your escrow payment accordingly.

Q6 What are my options if my payment increased and I can’t afford a higher mortgage
   payment?
  If a payment increase causes a financial hardship and you cannot afford the larger monthly mortgage payment, call
  us at 1-800-552-3000 to discuss mortgage assistance options that may be available to you.




Visit www.MyMidlandMortgage.com/Escrow for additional
helpful answers to frequently asked escrow questions or
             contact us at 1-800-654-4566.
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     ALDRIDGE PITE, LLP
     3333 Camino del Rio South
     Suite 225
     San Diego CA 92108
     Telephone: (858) 750-7600
     Facsimile: (619) 590-1385




                               UNITED STATES BANKRUPTCY COURT

             EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
     In re                                           Case No. 23-13491-amc

     CHINELLE MONIQUE BALLARD,                       Chapter 13

                      Debtor(s).                     PROOF OF SERVICE


             I, Darronica Smith, declare that:

             I am employed by Aldridge Pite, LLP. My business address is: 3333 Camino del Rio

    South, Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to

    this cause.

             On April 10, 2025, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

    served in said case by electronic means through the court’s CM/ECF system or through United

    States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.
             I declare under penalty of perjury that the foregoing is true.



                                                    /s/Darronica Smith
                                                    DARRONICA SMITH




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    PROOF OF SERVICE
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                                       SERVICE LIST

    DEBTOR(S)
    (VIA US MAIL)
    Chinelle Monique Ballard
    6414 Callowhill St
    Philadelphia, PA 19151-4009

    DEBTOR(S) ATTORNEY
    (VIA ELECTRONIC NOTICE)
    MICHAEL A. CIBIK

    CHAPTER 13 TRUSTEE
    (VIA ELECTRONIC NOTICE)
    KENNETH E. WEST

    U.S. TRUSTEE
    (VIA ELECTRONIC NOTICE)
    United States Trustee




                                             -2-
    PROOF OF SERVICE
